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EXHIBIT G
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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

DONNA CURLING, et al.

       Plaintiffs,
                                               CIVIL ACTION
       v.
                                               FILE NO. 1:17-cv-2989-AT
BRAD RAFFENSPERGER, et al.,

       Defendants.


        SUPPLEMENTAL DECLARATION OF CHRIS HARVEY

      Pursuant to 28 U.S.C. § 1746, I, CHRIS HARVEY, make the following

declaration:

                                      1.

      My name is Chris Harvey. I am over the age of 21 years, and I am

under no legal disability which would prevent me from giving this

declaration. If called to testify, I would testify under oath to these facts.

                                      2.

      I currently am the Director of Elections for the State of Georgia. I have

held that position since July 2015. From August 2007 to July 2015, I was the

Chief Investigator and Deputy Inspector General for the Secretary of State’s

office, investigating, among other things, potential violations of state election


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law. For more than a decade, I have acquired firsthand knowledge of

Georgia’s election processes at both the state and county level.

                                     3.

      When the Secretary of State moved the general primary to June 9,

2020, that date was selected because it was the practical last date that would

allow the November election to occur on time.

                                     4.

      The certification of the August 11 runoff must be completed by August

28, 2020, with absentee ballots going to absentee and military voters

beginning on September 15, 2020.

                                     5.

      Our offices, working with Dominion, have a short period of time to

build databases for the November elections, have those databases proofed by

local officials, have any edits made, and get final copies to counties to allow

them to begin printing absentee and provisional ballots.

                                     6.

      Databases for the November election will be built in the next week.

                                     7.

      In-person early voting for the November 2020 election begins on

October 13, 2020.

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                                    8.

     County election officials have spent months training pollworkers to use

the Dominion system. In-person training during the pandemic has been

challenging and many counties had limited opportunities to train

pollworkers.

                                    9.

     Following the June 9 primary, county and state election officials

worked to update processes and training to ensure the November election

runs as smoothly as possible.

                                    10.

     I am familiar with the relief sought by the Plaintiffs in this lawsuit,

particularly for Georgia to move to an entirely hand-marked paper ballot

voting system.

                                    11.

     I do not see a way it is physically possible to manage a change from one

election system to another before the November election.

                                    12.

     Adding additional training burdens on county officials and pollworkers

at this point is dangerous and switching from one election system to another

would require significant new training.

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